










Opinion issued December 22, 2009











In The
Court of Appeals
For The
First District of Texas




NO. 01–09–00701–CV




KENNETH HILL, Appellant

V.

DOMINGO CARRILLO, ET AL, Appellee




On Appeal from the 405th District Court
Galveston County, Texas
Trial Court Cause No. 37694




MEMORANDUM OPINIONAppellant Kenneth Hill has failed to timely file a brief.  See Tex. R. App. P.
38.8(a) (failure of appellant to file brief).  After being notified that this appeal was
subject to dismissal, appellant did not adequately respond.  See Tex. R. App. P.
42.3(b) (allowing involuntary dismissal of case).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The appeal is dismissed for want of prosecution for failure to timely file a brief. 
All pending motions are denied.
PER CURIAM
Panel consists of Justices Jennings, Higley, and Sharp.


